     2:18-cv-00018-RMG         Date Filed 06/26/18             Entry Number 33    Page 1 of 6




                       IN THE UNITED STATES DISTRICT COURT
                           DISTRICT OF SOUTH CAROLINA
                               CHARLESTON DIVISION

Joseph Church, on behalf of himself and all )                   Civil Action No . 2:18-0018-RMG
others similarly situated,                    )
                                              )
                        Plaintiff,            )
                                              )                            ORDER
        v.                                    )
                                              )
Hotels.com L.P .; Expedia, Inc., Travelscape, )
LLC, Reservations Technologies, Inc. d/b/a/ )
Reservations.com; Benjamin & Brothers,        )
LLC d/b/a/ Reservations.com                   )
                                              )
                        Defendant.            )
~~~~~~~~~- )

       Before the Court is a motion to dismiss brought by Defendants Reservations

Technologies, Inc.     (d/b/a Reservations.com)          and    Benjamin &    Brothers, LLC     (d/b/a

Reservations.com) (collectively, "Reservations.com" or "Defendants") (Dkt. No . 14.) For the

reasons set forth below, the motion is granted.

I.     Background

       In June 2017, Plaintiff Joseph Church used hotel booking website Reservations.com to

purchase two nights in a guest room at the Hyatt Regency Orlando Hotel. (Dkt. No. 5             ~   27.)

Plaintiff incurred credit card charges for the "Room Subtotal," Reservations.corn's "Service

Fee," and "Tax & Fees." (Id.   ~   28.) Reservations.com states "Tax & Fees" are "an estimated

amount we expect the hotel to bill for applicable taxes, government fees, and other charges that

the hotels must pay to the government." (Id.   ~   21.) To make a transaction, the Reservations.com

website prompts a customer to select the desired hotel room and enter payment information into

a form, at the bottom of which is a button labeled "Confirm Reservation. " (Dkt. No . 19 at 4.)

Next to the "Confirm Reservation" button is a paragraph of text stating, "Your information is



                                                   -1-
      2:18-cv-00018-RMG             Date Filed 06/26/18     Entry Number 33      Page 2 of 6




protected and SSL encrypted secure. By clicking the ' Complete Reservation' button you agree

to our Terms of Service and hotel room cancellation policy." (Dkt. No. 19, Ex. 2 at 6.) The

phrase "Terms of Service" is hyperlinked to a webpage containing the Reservations.com "Terms

of Service and Dispute Resolution (' Agreement' )," which contains a provision titled "Mandatory

Arbitration" requiring both parties to submit "Any and all claims" to "binding arbitration, rather

than in court" unless the claim may be brought in small claims court. (Dkt. No. 14, Ex. 2.)

       Plaintiff alleges that Reservations .com knowingly charged him $108.68 in "Tax & Fees,"

that the correct cost was $69.97, and that Reservations.com knowingly kept the excess $38.71.

(Dkt. No. 5   iii! 29, 33.)    Plaintiff alleges Reservations.com has done the same for "nearly every

reservation booked on the website, and [is] illegally retaining millions of dollars in overcharges

annually." (Id.    if   33.)   Reservations.com has moved to dismiss Plaintiffs First Amended

Complaint for lack of personal jurisdiction, improper venue or forum non conveniens, or to stay

the action pending arbitration. (Dkt. No. 14.)

II.    Legal Standard

       The Federal Arbitration Act ("FAA") gives the Court the power to stay a proceeding "if

satisfied that the issue involved in such suit or proceeding is referable to arbitration under such

an agreement." 9 U.S .C. § 3. "This stay-of-litigation provision is mandatory [and the] district

court therefore has no choice but to grant a motion to compel arbitration where a valid arbitration

agreement exists and the issues in a case fall within its purview." Adkins v. Labor Ready, Inc.,

303 F.3d 496, 500 (4th Cir. 2002) (applying 9 U.S.C § 3 where existence of arbitration

agreement in dispute); see also Sittner v. Cnty. Club, Inc., No. 4:15-CV-05043-RBH, 2016 WL

3753224, at *4 (D.S .C. July 13, 2016) ("A district court is required to stay litigation where a

valid arbitration agreement exists between the parties and the issues in the case are covered by

the arbitration agreement.").


                                                    -2-
     2:18-cv-00018-RMG          Date Filed 06/26/18       Entry Number 33         Page 3 of 6




        The FAA applies where there is " (1) the existence of a dispute between the parties, (2) a

written agreement that includes an arbitration provision which purports to cover the dispute, (3)

the relationship of the transaction, which is evidenced by the agreement, to interstate or foreign

commerce, and (4) the failure, neglect or refusal of the defendant to arbitrate the dispute. "

Whiteside v. Te/tech Corp. , 940 F.2d 99, 102 (4th Cir. 1991). Regarding the second element, the

party seeking to arbitrate bears the burden of demonstrating the existence of an agreement to

arbitrate. See, e.g. , Minnie/and Private Day Sch. , Inc. v. Applied Underwriters Captive Risk

Assurance Co., Inc. , 867 F .3d 449, 456 (4th Cir. 2017). "Challenges to ... the very existence of

the contract must be resolved by the court" and not the arbitrator. Wiand v. Schneiderman , 778

F.3d 917, 924 (1 lth Cir. 2015). To identify a contract, the district court looks to the state law

governing contract formation. See, e.g., Adkins v. Labor Ready, Inc., 303 F.3d 496, 501 (4th Cir.

2002) ("Whether a party agreed to arbitrate a particular dispute is a question of state law

governing contract formation."). An agreement is formed where there is offer, acceptance and

consideration, as well as sufficient specificity of essential terms such as price. See, e.g. , Mitchell

v. Precision Motor Cars Inc., No. 8:17-cv-376-T-24AAS, 2017 WL 1361528, at *2 (M.D. Fla.

Apr. 14, 2017) (examining whether agreement to arbitrate was formed under Florida law to

enforce FAA). If an agreement to arbitrate is demonstrated, the Court will enforce the agreement

absent a countervailing reason to deem it unenforceable. See 9 U.S.C. § 2 ("A written provision

m   . . . a contract evidencing a transaction involving commerce to settle by arbitration a

controversy thereafter arising out of such contract . . . shall be valid, irrevocable, and

enforceable, save upon such grounds as exist at law or in equity for the revocation of any

contract.").




                                                 -3-
       2:18-cv-00018-RMG         Date Filed 06/26/18      Entry Number 33       Page 4 of 6




         The Fourth Circuit has held that if all of the claims asserted in a complaint are subject to

arbitration, dismissal of the complaint is "an appropriate remedy." Choice Hotels Int'!, Inc. v.

BSR Tropicana Resort, Inc., 252 F.3d 707, 709- 10 (4th Cir. 2001) ("[D]ismissal is a proper

remedy when all of the issues presented in a lawsuit are arbitrable."). The Fourth Circuit has

noted the inconsistency between its opinions on this issue. See, e.g., Aggarao v. MOL Ship

Mgmt. Co., 675 F.3d 355 , 376 n.18 (4th Cir. 2012) ("There may be some tension between our

decision in Hooters-indicating that a stay is required when the arbitration agreement 'covers

the matter in dispute'-and Choice Hotels-sanctioning dismissal 'when all of the issues

presented . .. are arbitrable. "'). It has also noted that the circuits are divided on this question,

which it has not resolved for this Circuit. Id.

III.     Discussion

         Plaintiff argues that his claims are not subject to arbitration because an agreement to

arbitrate never existed.    Specifically, Plaintiff contends that he never agreed to arbitration

because "nothing [on the Reservations.com website] requires a potential purchaser to click on the

Terms of Service or to accept those terms as part of making a reservation ... " (Dkt. No. 19 at

14.) This argument is without merit. As an initial matter, the customer is indeed required to

"accept those terms of part of making a reservation," as reflected in the check-out page

disclaimer that states, "By clicking the ' Complete Reservation' button you agree to our Terms of

Service." In any event, to the extent Plaintiff argues that he was not given sufficient notice of the

Terms of Service, 1 the type of agreement implemented by Reservations.com has been found

enforceable.    Reservations.com implements a hybrid between a clickwrap and browsewrap

1
 Plaintiff seems to contend that the notice he was given was insufficient due to the size and color
of the disclaimer's font; however, the hyperlinked disclaimer is presented in the same "small
gray font on a light gray background" (Dkt. No. 19 at 3) as is the payment information that
Plaintiff himself typed.


                                                  -4-
     2:18-cv-00018-RMG         Date Filed 06/26/18      Entry Number 33       Page 5 of 6




agreement: by expressly agreemg to click and "Complete Reservation," the consumer is

impliedly agreeing to the Terms of Service, of which he is put on sufficient notice by the clear
                                                                                       2
hyperlinked disclaimer directly adjacent to the "Complete Reservation" button.             Hybrid

agreements almost identical to that here have been found enforceable as providing adequate

notice of the Terms of Service. See, e.g. , Van Den Heuvel v. Expedia Travel, No. 2:16-cv-00567,

2017 WL 5133270, at *2-3 (E.D. Ca. Nov. 6, 2017) (disclaimer directly above "Complete

Booking" button states, "By selecting to complete this booking I acknowledge that I have read

and accept the ... Terms of Use [hyperlinked]"); Crawford v. Beachbody, LLC, No. No.

14cv1583-GPC(KSC), 2014 WL 6606563 , at *3 (S.D. Ca. Nov. 5, 2014) (disclaimer directly

above "Place Order" button states, "By clicking Place Order below, you are agreeing that you

have read and understand the Beachbody Purchase Terms and Conditions [hyperlinked]"). With

sufficient notice of the Terms of Service, Plaintiff then assented to them by affirmatively

clicking to "Complete Reservation."

         Having found the existence of an agreement between Plaintiff and Reservations.com, the

Court also finds that Plaintiffs claims fall within the arbitration provision. The language of this

arbitration provision creates a broad scope of arbitrability. See, e.g. , Gray v. Talking Phone

Book, No. 8:08-cv-01833-GRA, 2008 WL 11348324, at *1 (D.S.C. Aug 7, 2008) (granting

motion to dismiss where arbitration clause encompassed "any controversy or claim arising out of

or relating to this Agreement"). Plaintiffs claims for breach of contract, conversion and unjust

enrichment are "arising out of or relating to" the Terms of Service governing the transaction at

issue.

2
 For this reason, Specht v. Netscape Commc 'ns. Corp., 306 F.3d 17 (2d Cir. 2002) is inapposite
because Reservations.com did not require Plaintiff scroll down past the "Complete Reservation"
button to "encounter an invitation to review and agree to the terms." (Dkt. No. 19 at 17.) The
Terms of Service for this purchase are directly above the "Complete Reservation" button.


                                                -5-
      2:18-cv-00018-RMG      Date Filed 06/26/18     Entry Number 33      Page 6 of 6




        Because the entire dispute is within the scope of the arbitration clause, the Court

dismisses the complaint without prejudice under Rule 12(b)(3) of the Federal Rules of Civil

Procedure.

IV.     Conclusion

        For the foregoing reasons, Defendants Reservations Technologies, Inc. ' s (d/b/a

Reservations.com) and Benjamin & Brothers, LLC ' s (d/b/a Reservations.com) motion to dismiss

(Dkt. No. 14) is GRANTED. The Court ORDERS Plaintiff and Reservations Technologies,

Inc. and Benjamin & Brothers, LLC to arbitrate their dispute in accordance with the Terms of

Service. All claims against Reservations Technologies, Inc. and Benjamin & Brothers, LLC are

DISMISSED WITHOUT PREJUDICE.

       AND IT IS SO ORDERED.




                                                  United States Distric

June '2,{t, 2018
Charleston, South Carolina




                                            -6-
